      Case 7:19-cv-06188-CS Document 1 Filed 07/02/19 Page 1 of 5



TINITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEV/ YORK
                                       -------x
NICHOLAS MAGALIOS,

                      Plaintiffl,                           COMPLAINT
               -against-
                                                            Plaintiff Demands
C.O. MATHEW PERALTA,                                         A Trial By Jury
C.O. TIMOTHY BAILEY and
C.O. EDWARD BLOUNT,

                         Defendants.
                                                 X

               Plaintiff, by his attorneys Sivin & Miller, LLP, complaining of defendants,

alleges as follows, upon information and belief:

                          THE PARTIES AND JURISDICTION

               l.   That at all times herein mentioned, plaintiff was and is a citizen of the

State of New York.

               2. That   at all times herein mentioned,   plaintiff was an inmate   at the

Fishkill Correctional Facility (Fishkill), in Beacon, NY, and was under the care, custody,

and control of the New York Department of Corrections and Community Supervision

(Doccs).

               3. That   at all times herein mentioned, defendants were and are citizens     of

the State of New York.

               4.   Thaf at all times herein mentioned, defendant C.O. Mathew Peralta

(Peralta) was a corrections officer employed at Fishkill by DOCCS.

               5. That at all times herein mentioned, Peralta was acting within the course

and scope of his employment as a DOCCS corrections officer.
      Case 7:19-cv-06188-CS Document 1 Filed 07/02/19 Page 2 of 5



                6. That   at all times herein mentioned, Peralta was acting under color      of

state law.

                7. That   at all times herein mentioned, defendant C.O.      Timotþ Bailey

(Bailey) was a corrections officer employed at Fishkill by DOCCS.

                8. That   at all times herein mentioned, Bailey was acting within the course

and scope of his employment as a DOCCS corrections officer.

                9. That   at all times herein mentioned, Bailey was acting under color       of

state law.

                10. That at all times herein mentioned, defendant C.O. Edward Blount

(Blount) was a corrections officer employed at Fishkill by DOCCS.

                11. That at all times herein mentioned, Blount was acting within the

course and scope of his employment as a DOCCS corrections offtcer.

                12. That at all times herein mentioned, Blount was acting under color of

state law.

                13. That this Court has jurisdiction over this action in that the action

arises under 42USC $ 1983 and alleges violations of     plaintiff   s   civil rights, including

rights guaranteed under the Eighth and Fourteenth Amendments to the United States

Constitution.

                  VIOLATIONS OF PLAINTIFF'S CIVIL RIGHTS

                14. Plaintiff repeats and realleges each and every allegation set forth

above as though fully set forth at length herein.

                15. That on September 3, 2017, inside Fishkill, Peralta and Bailey,

together with other corrections officers whose identities are unknown to plaintiff, without
        Case 7:19-cv-06188-CS Document 1 Filed 07/02/19 Page 3 of 5



any legal justification and not in furtherance of any legitimate penological interest,

brutally attacked plaintiff by, among other things, punching, kicking, and slapping

plaintiff multiple times in the head and body and otherwise using force against plaintiff

that was not privileged or justified.

                 16. That Blount observed the aforementioned attack on plaintiff, had     a


reasonable opportunity to intervene to prevent and/or stop the attack on plaintiff, and

deliberately failed to do so.

                 17. That Peralta observed the aforementioned attack on plaintiff, had    a


reasonable opportunity to intervene to prevent andior stop the attack on plaintiff, and

deliberately failed to do so.

                 18. That Bailey observed the aforementioned attack on plaintifï, had a

reasonable opportunity to intervene to prevent and/or stop the attack on plaintiff, and

deliberately failed to do so.

                 19. That as a result of the aforementioned collective actions of

defendants, plaintiff sustained severe physical and emotional injuries, including but not

limited to a severe injury to the right shoulder that required surgical repair, and endured

and   will continue to endure pain and suffering, loss of enjoyment of life, extreme

emotional distress, medical expenses, and other economic loss.

                 20. Thatthe actions of defendants herein were intentional, sadistic, and

malicious, and served no legitimate penological interest.
      Case 7:19-cv-06188-CS Document 1 Filed 07/02/19 Page 4 of 5




              FIRST CAUSE OF A                  AGAINST DEF'ENDANTS
                             (42 USC $ 1983: Eighth Amendment)

              21. Plaintiff     repeats and realleges each and every allegation set forth

above as though   fully   set forth at length herein.

              22. Thatthe aforementioned            acts by defendants were in   violation of the

rights guaranteed to plaintiff under the Eighth Amendment to the US Constitution to be

free from cruel and unusual punishment.

              23. That      as a result thereof,   plaintiff is entitled to recover damages from

defendants pursuant to 42 USC $ 1983.

             SECOND CAUSE OF'ACTION AGAINST DEFENDANTS
                   (42 USC $ 1983: Fourteenth Amendment)

              24. Plaintiff     repeats and realleges each and every allegation set forth

above as though   fully   set forth at length herein.

               25. Thatthe aforementioned           acts by defendants were in   violation of the

substantive due process rights guaranteed to plaintiff under the Fourteenth Amendment to

the US Constitution.

               26. That     as a result thereof,   plaintiff is entitled to recover damages from

defendants pursuant to 42 USC $ 1983.

               WHEREFORE, plaintiff seeks judgment against defendants, and all               of

them, on the aforementioned causes of action, in the form of compensatory damages in

the amount of Two Million ($2,000,000.00) Dollars and punitive damages against each of

the defendants, each in the amount of One Million ($1,000,000) Dollars.
      Case 7:19-cv-06188-CS Document 1 Filed 07/02/19 Page 5 of 5



               Plaintiff also seeks attorney's fees against defendants pursuant to 42 USC

$ 1988, and interest, costs, and disbursements of this action.


Dated: New York, New York
       July 2,2019

                                                      Yours, etc.
                                                      Sivin &



                                                                  Sivin
                                                      Attorneys for
                                                      20 Vesey St., Suite 1400
                                                      New York, NY 10007
                                                      (212) 349-0300
